Case 2:20-cv-00319-JRG-RSP Document 752 Filed 09/14/22 Page 1 of 1 PageID #: 45607




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   UNITED SERVICES AUTOMOBILE                          §
   ASSOCIATION,                                        §
                                                       §
                                                       §
                    Plaintiff,                         §
                                                       §
   v.                                                  §    CIVIL ACTION NO. 2:20-CV-00319-JRG
                                                       §
   PNC BANK N.A.,                                      §
                                                       §
                    Defendant.                         §

                                                  ORDER
           Before the Court is Plaintiff United Services Automobile Association (“USAA”) and

   Defendant PNC Bank N.A.’s (“PNC”) (collectively, the “Parties”) Joint Motion for Extension

   Regarding Post-Judgment Briefing (the “Motion”). (Dkt. No. 751). In the Motion, the Parties

   request various extensions of time for post-trial briefing for all Parties. Having considered the

   Motion, and noting its joint nature, the Court is of the opinion that it should be and hereby is

   GRANTED.
   .        Accordingly, the proposed revised deadlines described in the Motion shall govern

   filing deadlines for the relevant post-trial briefing in this case as follows:

                 Event                       Current Deadline                       New Deadline

    Responses to Post-Judgment September 30, 2022                        October 14, 2022
    Motions
    Replies to Post-Judgment October 7, 2022                             October 28, 2022
    Motions
    Sur-Replies to Post-Judgment October 14, 2022                        November 11, 2022
    Motions

        So ORDERED and SIGNED this 14th day of September, 2022.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
